         Case 2:06-cr-00192-PMP-LRL           Document 70       Filed 03/09/11     Page 1 of 1



 1
 2
 3
 4                              UNITED STATES DISTRICT COURT
 5                                     DISTRICT OF NEVADA
 6                                                -o0o-
 7
     UNITED STATES OF AMERICA,           )
 8                                       )
                       Plaintiff,        )                Case No. 2:06-cr-192-PMP-LRL
 9                                       )
                 vs.                     )                ORDER OF TEMPORARY
10                                       )                DETENTION
     JAN SENN,                           )
11                                       )
                       Defendant.        )
12   ____________________________________)
13          The Defendant having had her initial appearance on March 8, 2011,
14          IT IS HEREBY ORDERED that the defendant is remanded to custody until March 14,
15   2011. The defendant shall be released from custody on March 14, 2011, and shall reside at the
16   CARE facility pending the hearing set before Judge Philip M. Pro on March 30, 2011, at 4:00
17   p.m. in LV Courtroom 7C.
18                      9th day of March, 2011.
            DATED this ____
19
20                                                        ___________________________________
                                                          GEORGE FOLEY, JR.
21                                                        United States Magistrate Judge
22
23
24
25
26
27
28
